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EXHIBIT B

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Case 06-10725-gwz Doc 3721-2

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Rob Chaties, NV State Bar No 006593
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Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

USA COMMERCIAL MORTGAGE
COMPANY,

Us CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUSI
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

D All Debtors

USA Commercial Mortgage Company

Ci USA Capital Realty Advisors, LLC

O USA Capital Diversified Trust Deed Fund, LLC
0 USA Capital First Irust Deed Fund, LLC

DO USA Securities, LLC

Case No. BK-S-06-10725-LBR
Case No. BKE-S-06-10726-LBR
Case No. BK-S-06+10727-LBR
Case No. BK-S-06-10728-LBR
Case No BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING
BANK OF AMERICA, N.A. TO
PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
REPRESENTATIVE FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2064

[No hearing required}

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating

Trust (the “Irust” or “Movant”) hereby moves this Court for an order requiring Bank of

America, N.A (“BofA”) to produce a custodian of documents and a corporate

reptesentative, as set forth in subpoenas issued unde: Federal Rule of Bankruptcy

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 3 of 39

Procedure 9016, to appear for examination at the law office of Lewis and Roca, LLP, 3993
Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a business day no
earlier than ten (10) business days after the filing of this Motion and no latex than April 30,
2007, or at such other mutually agreeable location, date, and time, and continuing from
day to day thereafter until completed

This Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning legal services performed by BofA on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise related
entities. The Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors.

The requested discovery from BofA is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, or property or... the liabilities and financial condition
of the debtor, or .. any matter which may affect the administration of the
debtor’s estate, ot to the debtor’s right to a discharge Ina...
reorganization case under chapter 11 of the Code, .. . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
given or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan.

FED. R. BANKR. P. 2004(b).

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Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion
Dated: April 9, 2007,

DIAMOND MCCARTHY LLP

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William 1. Reid, IV, IX 00788817 (pro hac vice)
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Case 06-10725-gwz Doc 3721-2

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E-Filed on 04/09/07

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Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

USA COMMERCIAL MORTGAGE
COMPANY,

ree CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

C1] All Debtors

USA Commercial Mortgage Company

Q1USA Capital Realty Advisors, LLC

0) USA Capital Diversified Trust Deed Fund, LLC
0 USA Capital First Trust Deed Fund, LLC

0 USA Securities, LLC

Case No BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No. BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING
BANK OF COMMERCE TO
PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
REPRESENTATIVE FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004

[No hearing required]

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating

Trust (the “Irust” or “Movant”) hereby moves this Court for an order requiring Bank of

Commerce (“BofC”) to produce a custodian of documents and a corporate representative,

as set forth in subpoenas issued under Federal Rule of Bankruptcy Procedure 9016, to

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 6 of 39

appear for examination at the law office of Lewis and Roca, LLP, 3993 Howard Hughes
Parkway, Suite 600, Las Vegas, Nevada 89169, on a business day no earlier than ten (10)
business days after the filing of this Motion and no later than April 30, 2007, or at such
other mutually agreeable location, date, and time, and continuing from day to day
thereafter until completed

This Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning legal services performed by BofC on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, ot otherwise related
entities The Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors.

The requested discovery from BofC is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, ot property or ._ the liabilities and financial condition
of the debtor, or ... any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge Ina...
reorganization case under chapter 11 of the Code, __. the examination may
also telate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration

ven or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 7 of 39

Conclusion
Accordingly, the Movant requests that this Court enter the form of order submitted
with this Motion
Dated: April 9, 2007

DIAMOND MCCARTHY LLP LEWIS AND ROCA LLP

By: _,_ 4s/ Eric D, Madden By: ___/s/ Rob Charles
Allan B. Diamond, TX 05801800 (pro hac vice) Susan M Freeman, AZ 4199 (pro hac vice)
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Counsel for USACM Liquidating Trust
Special Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2

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E-Filed on 04/09/07 |

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Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA —

In re:

USA COMMERCIAL MORIGAGE
COMPANY,

USA CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED IRUSI
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

0 All Debtors

J USA Commercial Mortgage Company

£1 USA Capital Realty Advisors, LLC

C1 USA Capital Diversified Trust Deed Fund, LLC
(1 USA Capital First Irust Deed Fund, LLC

C) USA Securities, LLC

Case No. BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR.
Case No. BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No. BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING
NEVADA STATE BANK TO
PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
REPRESENTATIVE FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004

[No heating required}

Pursuant to Federal Rute of Bankruptcy Procedure 2004, the USACM Liquidating

[rust (the “Irust” or “Movant”) hereby moves this Court for an order requiring Nevada

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State Bank (“NSB”) to produce a custodian of documents and a corporate representative,

as set forth in subpoenas issued under Federal Rule of Bankruptcy Procedure 9016, to

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 9 of 39

appear for examination at the law office of Lewis and Roca, LLP, 3993 Howard Hughes
Parkway, Suite 600, Las Vegas, Nevada 89169, on a business day no earlier than ten (10)
business days after the filing of this Motion and no later than April 30, 2007, or at such
other mutually agreeable location, date, and time, and continuing from day to day
thereafter until completed.

This Motion is further explained in the following Memorandum

Memorandum

The Movant seeks information concerning legal services performed by NSB on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise related
entities. The Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors.

The requested discovery from NSB is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, or property or... the liabilities and financial condition
of the debtor, or ... any matter which may affect the administration of the
debtor’s estate, or to the debtor’s tight to a discharge In a
reorganization case under chapter 11 of the Code, .. . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money ox property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
iven or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 10 of 39

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

- with this Motion.

Dated: April 9, 2007.

DIAMOND MCCARTHY LLP . LEWIS AND ROCA LLP

By: ___/s/ Eric D, Madden By: __Rob Charles
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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 11 of 39

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Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re:
USA COMMERCIAL MORTGAGE Case No BK-S-06-10725-LBR
COMPANY, Case No BK-S-06-10726-LBR

USA CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors

Affects:

CT All Debtors

El USA Commercial Mortgage Company

C1 USA Capital Realty Advisors, LLC

USA Capital Diversified Trust Deed Fund, LLC
C1 USA Capital First Irust Deed Fund, LLC

1) USA Securities, LLC

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating
Trust (the “Irust” or “Movant”) hereby moves this Court for an order requixing JPMorgan
Chase Bank, £/k/a Bank One, N.A. (“Chase”) to produce a custodian of documents and a

corporate representative, as set forth in subpoenas issued under Federal Rule of

B-4

Case No BK-S-06-10727-LBR
Case No BK-S-06-10728-LBR
Case No, BK-S-06-10729-LBR
CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING
JPMORGAN CHASE BANK, N.A. TO

PRODUCE A CUSTODIAN OF

DOCUMENTS AND A CORPORATE

REPRESENTATIVE FOR
EXAMINATION PURSUANT TO

FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004

[No hearing required]

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 12 of 39

Bankruptcy Procedure 9016, to appear for examination at the law office of Lewis and
Roca, LLP, 3993 Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a
business day no earlier than ten (10) business days after the filing of this Motion and no
later than April 30, 2007, or at such other mutually agreeable location, date, and time, and
continuing from day to day thereafter until completed.

[his Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning legal services performed by Wells Fargo
on behalf of USACM, the other debtors in the above-captioned cases (together with
USACM, the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise
related entities. The Movant seeks this information to assist in the collection of the assets
and the investigation of the liabilities of the Debtors,

The requested discovery from Wells Fargo is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t{he acts, conduct, or property or... the liabilities and financial condition
of the debtor, ot .. any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge. In a
reorganization case under chapter 11 of the Code, . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
‘ven ot offered therefore, and any other matter relevant to the case or to the
ormulation of a plan.

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 13 of 39

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion.
Dated: April 9, 2007.

DIAMOND MCCARTHY LLP

By: ___ Erie D. Madden

Allan B Diamond, TX 05801800 (pro hac vice)
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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 14 of 39

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Counsel for USACM Liguidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

USA COMMERCIAL MORTGAGE
COMPANY,

USA CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors

Affects:

[7 Ail Debtors

&] USA Commercial Mortgage Company

0 USA Capital Realty Advisors, LLC

0 USA Capital Diversified Trust Deed Fund, LLC
O USA Capital First Trust Deed Fund, LLC

(1 USA Securities, LC

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating

Case No. BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING

WELLS FARGO BANK NEVADA,
N.A. TO PRODUCE A CUSTODIAN
OF DOCUMENTS AND A
CORPORATE REPRESENTATIVE
FOR EXAMINATION PURSUANT
TO FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004

[No hearing required]

Trust (the “Irust” or “Movant”) hereby moves this Court for an order requiring Wells

Fargo Bank Nevada, NA (“Wells Fargo”) to produce a custodian of documents and a

corporate representative, as set forth in subpoenas issued under Federal Rule of

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 15 of 39

Bankruptcy Procedure 9016, to appear for examination at the law office of Lewis and
Roca, LLP, 3993 Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a
business day no earlier than ten (10) business days after the filing of this Motion and no
later than April 30, 2007, or at such other mutually agreeable location, date, and time, and
continuing from day to day thereafter until completed

This Motion is further explained in the following Memorandum,

Memorandum

The Movant seeks information concerning legal services performed by Wells Fargo
on behalf of USACM, the other debtors in the above-captioned cases (together with
USACM, the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise
related entities. Ihe Movant seeks this information to assist in the collection of the assets
and the investigation of the liabilities of the Debtors

The requested discovery from Wells Fargo is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[tlhe acts, conduct, or property ot... the liabilities and financial condition
of the debtor, or | any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge Ina.
reorganization case under chapter 11 of the Code, .. . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration

iven or offered therefore, and any other matter relevant to the case ot to the
ormulation of a pian.

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 16 of 39

Conclusion
Accordingly, the Movant requests that this Court enter the form of order submitted
with this Motion
Dated: April 9, 2007

DIAMOND MCCARTHY LLP LEWIS AND ROCA LLP

By: ___/4s/ Frie D, Madden By: ___ 4s/ Rob Charles
Alian B Diamond, TX 05801800 (pro hac vice) Susan M Freeman, AZ 4199 (pro hac vice)
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Counsel for USACM Liquidating Trust
Special Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2

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Special Litigation Counsel for USACM L iquidating Trust

Entered 05/11/07 17:03:38 Page 17 of 39

E-Filed on 04/09/07

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Counsel fox USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re:
USA COMMERCIAL MORIGAGE Case No, BK-S-06--10725-LBR
COMPANY, Case No. BK.--S-06-10726-LBR

ust CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRSF TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Aifects:

0 All Debtors

USA Commercial Mortgage Company

O USA Capital Realty Advisors, LLC

O USA Capital Diversified Irust Deed Fund, LLC
O USA Capital First Trust Deed Fund, LLC

D USA Securities, LLC

Case No, BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No. BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING
BANK OF THE WEST TO
PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
REPRESENTATIVE FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004

[No hearing required]

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating

Jrust (the “Irust” or “Movant”) hereby moves this Court for an order requiring Bank of

the West (“BofW”) to produce a custodian of documents and a corporate representative, as

set forth in subpoenas issued under Federal Rule of Bankruptcy Procedure 9016, to appear

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 18 of 39

for examination at the law office of Lewis and Roca, LLP, 3993 Howard Hughes Parkway,
Suite 600, Las Vegas, Nevada 89169, on a business day no earlier than ten (10) business
days after the filing of this Motion and no later than April 30, 2007, or at such other
mutually agreeable location, date, and time, and continuing from day to day thereafter
until completed.

This Motion is further explained in the following Memorandum

Memorandum

The Movant seeks information concerning legal services performed by BofW on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise related |.
entities The Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors.

The requested discovery from BofW is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, or property or. . . the liabilities and financial condition
of the debtor, or ... aly matter which may affect the administration of the
debtor’s estate, or to the debtor’s tight to a discharge Ina...
reorganization case under chapter 11 of the Code, . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquited or to be acquired
by the debtor for purposes of consummating a plan and the consideration
given or offered therefore, and any other matter relevant to the case or to the
ormulation of 2 plan.

1EED R. BANKR. P. 2004(b).

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 19 of 39

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion
Dated: April 9, 2007.

DIAMOND MCCARTHY LLP

By:___/s/ brie D. Madden

Allan B. Diamond, TX 05801800 (pro hae vice)
William 1, Reid, IV, TX 00788817 (pro hac vice)
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Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2

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E-Filed on 04/09/07

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Special Litigation Counsel for USACM Liquidating Trust Counsel for USACM L iquidating Irust

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re:
USA COMMERCIAL MORTGAGE Case No BK-S-06-10725-LBR
COMPANY, Case No BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
USA CAPITAL REALTY ADVISORS, Case No. BK-S-06-10728-LBR
LLC, Case No.. BK-S-06-10729-LBR
USA CAPITAL DIVERSIFIED TRUST CHAPTER 11
DEED FUND, LLC,
Jointly Administered Under Case No.
USA CAPITAL FIRST IRUST DEED BK-S-06-10725 LBR
FUND, LLC,
MOTION FOR ORDER REQUIRING
USA SECURITIES, LLC, OPPENHEIMER FUNDS TO
Debtors PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
Affects: REPRESENTATIVE FOR
D All Debtors EXAMINATION PURSUANT TO
I) USA Commercial Mortgage Company FEDERAL RULE OF
T USA Capital Realty Advisors, L1.C BANKRUPTCY PROCEDURE 2004
O USA Capital Diversified Trust Deed Fund, LLC oo .
CIUSA Capital First Irust Deed Fund, LLC [No hearing required]
O USA Securities, LLC

samen hee

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating
Irust (the “Irust” or “Movant”) hereby moves this Court for an order requiring
Oppenheimer Funds (“Oppenheimer”) to produce a custodian of documents and a

corporate representative, as set forth in subpoenas issued under Federal Rule of

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 21 of 39

Bankruptcy Procedure 9016, to appear for examination at the law office of Lewis and
Roca, LLP, 3993 Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a
business day no earlier than ten (10) business days after the filing of this Motion and no
later than April 30, 2007, or at such other mutually agreeable location, date, and time, and
continuing from day to day thereafter until completed.
This Motion is further explained in the following Memorandum
Memorandum
The Movant seeks information concerning legal services performed by
Oppenheimer on behalf of USACM, the other debtors in the above-captioned cases
(together with USACM, the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents,
ot otherwise related entities. The Movant seeks this information to assist in the collection

of the assets and the investigation of the liabilities of the Debtors
The requested discovery from Oppenheimer is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[the acts, conduct, or property or... the liabilities and financial condition
of the debtor, or .. any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge Ina...
reorganization case under chapter 11 of the Code, —.. the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration

iven or offered therefore, and any other matter relevant to the case or to the

ormulation. of a plan.

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 22 of 39

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion.
Dated: April 9, 2007.

DIAMOND MCCARTHY LLP

By: ___/s/ Eric D. Madden

LEWIS AND ROCA LLP

By: __/s/ Rob Charles

Allan B Diamond, TX 05801800 (pro hac vice) Susan M. Freeman, AZ 4199 (pro hac vice)
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Counsel for USACM Liquidating Trust

Special Counsel for USACM Liquidating Trust

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E-Filed on 04/09/07

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Email: emadden@diamondmeecarthy com Email: rcharles@Iaw com
Speciat Litigation Counsel for USACM Liquidating Trust Counsel for USACM Liquidating Frust

UNITED SFATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re:
USA COMMERCIAL MORIGAGE Case No. BK-S-06-10725-LBR
COMPANY, Case No. BK-S-06-10726-LBR
Case No, BK-S-06-10727-LBR
USA CAPITAL REALTY ADVISORS, Case No, BK-S:-06-10728-LBR
LLC, Case No. BK-S-06-10729-LBR
USA CAPITAL DIVERSIFIED TRUST CHAPTER 11
DEED FUND, LLC,
Jointly Administered Under Case No
USA CAPITAL FIRST TRUST DEED BK-S-06-10725 LBR
FUND, LIC,
MOTION FOR ORDER REQUIRING
USA SECURITIES, LLC, CITIBANK (NEVADA), N.A. TO
Debtors. PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
Affects: REPRESENTATIVE FOR
OD All Debtors EXAMINATION PURSUANT TO
EUSA Commercial Mortgage Company FEDERAL RULE OF
0 USA Capital Realty Advisors, LLC BANKRUPTCY PROCEDURE 2604
0 USA Capital Diversified Trust Deed Fund, LLC
C) USA Capital First Trust Deed Fund, LLC [No hearing required]
DO USA Securities, LLC

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating
Trust (the “Trust” or “Movant”) hereby moves this Court for an order requiring CitiBank
(Nevada), N.A (“CitiBank”) to produce a custodian of documents and a corporate

representative, as set forth in subpoenas issued under Federal Rule of Bankruptcy

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 24 of 39

Procedure 9016, to appeat for examination at the law office of Lewis and Roca, LLP, 3993
Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a business day no
earlier than ten (10) business days after the filing of this Motion and no later than April 30,
2007, or at such other mutually agreeable location, date, and time, and continuing from
day to day thereafter until completed

This Motion is further explained in the following Memorandum

Memorandum

The Movant seeks information concerning legal services performed by CitiBank on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise 1elated
entities. [he Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors.

The requested discovery from CitiBank is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, or property or __. the liabilities and financial condition
of the debtor, or .. any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge. In @
reorganization case under chapter 11 of the Code, .. . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
iven ot offered therefore, and any other matter relevant to the case or to the
ormulation of a plan

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 25 of 39

Conclusion
Accordingly, the Movant requests that this Court enter the form of order submitted
with this Motion.
Dated: April 9, 2007.

DIAMOND MCCARTHY LLP LEWIS AND ROCA LLP

By: __ A/ Eric D. Madden By: __/s/ Rob Charles
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William I. Reid, IV, TX 00788817 (pro hac vice) Rob Charles, NV 6593

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Special Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2

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| E-Filed on 04/09/07

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Counsel for USACM L iquidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

Tn re:

USA COMMERCIAL MORIGAGE
COMPANY,

bee CAPITAL REALTY ADVISORS,

OSA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

0 All Debtors

USA Commercial Morigage Company

C1 USA Capital Realty Advisors, LLC

0 USA Capital Diversified Trust Deed Fund, LLC
O USA Capital First Trust Deed Fund, LLC

i USA Securities, LLC

Case No. BK-S-06--10725.-LBR
Case No. BK-S-06-10726-LBR
Case No, BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No, BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING |
DESERT COMMUNITY BANK TO
PRODUCE A CUSTODIAN OF
DOCUMENTS AND A CORPORATE
REPRESENTATIVE FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2604

[No hearing required]

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating

Trust (the “Trust” o: “Movant”) hereby moves this Court for an order requiring Desert

Community Bank (“DCB”) to produce a custodian of documents and a corporate

representative, as set forth in subpoenas issued under Federal Rule of Bankruptcy

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 27 of 39

Procedure 9016, to appear for examination at the law office of Lewis and Roca, LLP, 3993
Howard Hughes Parkway, Suite 600, Las Vegas, Nevada 89169, on a business day no
earlier than ten (10) business days after the filing of this Motion and no late: than April 30,
2007, ot at such other mutually agreeable location, date, and time, and continuing from
day to day thereafter until completed.

This Motion is further explained in the following Memorandum

Memorandum

The Movant seeks information concerning legal services performed by DCB on
behalf of USACM, the other debtors in the above-captioned cases (together with USACM,
the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, ot otherwise related
entities. Ihe Movant seeks this information to assist in the collection of the assets and the
investigation of the liabilities of the Debtors

Ihe requested discovery from DCB is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[ihe acts, conduct, or property or. _ the liabilities and financial condition
of the debtor, or .. any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge. In a
reorganization case under chapter 11 of the Code, . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
iven or offered therefore, and any other matter relevant to the case or to the

ormulation of a plan.

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 28 of 39

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AND

ROCA

LLP

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Attomeys for Official Committee of Unsecured Creditors of
USA Commercial Mortgage Company

E-Filed on 3/6/07

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

USA COMMERCIAL MORTGAGE
COMPANY,

USA CAPITAL REALTY ADVISORS,
LLC,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

All Debtors

0 USA Commercial Mortgage Company

EF) USA Capital Realty Advisors, LLC

C) USA Capital Diversified Trust Deed Fund, LLC
(USA Capital First Irust Deed Fund, LLC

CJ USA Securities, LLC

Case No. BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No. BK -S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

SECOND AMENDED MOTION FOR
ORDER REQUIRING WELLS
FARGO BANK, N.A. TO PRODUCE
ONE OR MORE CORPORATE
REPRESENTATIVES FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF
BANKRUPTCY PROCEDURE 2004
(Amended to Remove Exhibit)

[No hearing required]

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the Official Committee of

Unsecured Creditors of USA Commercial Mortgage Company (“UCC” or the “Movant”)!

hereby moves this Court for an order requiring Wells Fargo Bank, N.A. (“Wells Fargo”) to

produce one or more corporate representatives, as set forth in subpoenas issued under

Federal Rule Bankruptcy Procedure 9016, to appear for examination at the law office of

| Upon the effective date of the Joint Plan of Reorganization (the “Plan”), the UCC will cease to exist and
the USACM Liquidating Trust will be substituted in for the UCC as to this Motion.

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 29 of 39

LEM
ROGA

LLP

LAWYERS

Lewis and Roca, LLP, 3993 Howard Hughes Parkway, Suite 600, Las Vegas, NV 89169,
on a business day no earlier than ten (10) business days after the filing of this Motion and
no later than April 30, 2007, or at such other mutually agreeable location, date, and time,
and continuing from day to day thereafter until completed.

This Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning the financial services, wire transfers, and
other services performed by Wells Fargo for USACM, the other debtors in the above-
captioned cases (together with USACM, the “Debtors”), and the Debtors’ affiliates,
subsidiaries, parents, or otherwise related entities. The Movant seeks this information to
assist in the collection of the assets and the investigation of the liabilities of the Debtors.

The requested discovery from Wells Fargo is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[the acts, conduct, or property or... the liabilities and financial condition
of the debtor, or ... any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge. Ina...
reorganization case under chapter 11 of the Code, .. . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration
given or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan.

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion.

? FED, R. BANKR P. 2004(b).

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 30 of 39

LEWIS

AND

ROCA

LLp

LAWYERS

Dated: March 6, 2007.

LEWIS AND ROCA LLP

By /s/ RC (#006593)
Susan M. Freeman, AZ 4199 (pro hac vice)
Rob Charles, NV 6593
Attorneys for Official Unsecured Creditors’ Committee
of USA Commercial Mortgage Company
-and-

DIAMOND MCCARTHY TAYLOR FINLEY & LEE
LLP

By: /s/ Eric D. Madden (pro hac vice)
Allan B. Diamond, TX 05801800 (pro hac vice)
William T. Reid, IV, TX 00788817 (pro hac vice)
Eric D. Madden, TX 24013079 (pro hac vice)
1201 Elm Street, 34th Floor
Dallas, Texas 75270

Special Litigation Counsel for Official Committee of
Unsecured Creditors of USA Commercial Mortgage
Company

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 31 of 39

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Special Litigation Counsel for USACM Liquidating Trust

E-Filed on 04/26/07

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Rob Charles, NV State Bar No 006593
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Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

USA COMMERCIAL MORTGAGE
COMPANY,

PA CAPITAL REALTY ADVISORS,

USA CAPITAL DIVERSIFIED TRUST
DEED FUND, LLC,

USA CAPITAL FIRST TRUST DEED
FUND, LLC,

USA SECURITIES, LLC,
Debtors.

Affects:

01 All Debtors

USA Commercial Mortgage Company

[1 USA Capitai Realty Advisors, LLC

O USA Capital Diversified Trust Deed Fund, LLC
0 USA Capital First Trust Deed Fund, LLC

0 USA Securities, LLC

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating
Trust (the “Trust” or “Movant”) hereby moves this Court for an order requiring Kreg
Rowe (“Rowe”) to appear, as set forth in the subpoena to be issued under Federal Rule of

Bankruptcy Procedure 9016, to appear for examination at the office of Esquire Deposition

B-11

Case No. BK-S-06-10725-LBR
Case No. BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
Case No. BK-S-06-10728-LBR
Case No. BK-S-06-10729-LBR

CHAPTER 11

Jointly Administered Under Case No.
BK-S-06-10725 LBR

MOTION FOR ORDER REQUIRING

KREG ROWE TO APPEAR FOR
EXAMINATION PURSUANT TO
FEDERAL RULE OF

BANKRUPTCY PROCEDURE 2004

[No hearing required]

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 32 of 39

Services, 1 East Liberty Street, 6" Floor, Reno, Nevada 89504, on a business day no
earlier than ten (10) business days after the filing of this Motion and no later than May 25,
2007 (or at such other mutually agreeable location, date, and time) and continuing from
day to day thereafter until completed.

This Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning various transactions and other dealings
between (1) Rowe and affiliated entities under his direct or indirect ownership and/or
control; and (2) USACM, the other debtors in the above-captioned cases (together with
USACM, the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, ot otherwise
related entities. Ihe Movant seeks this information to assist in the collection of the assets
and the investigation of the liabilities of the Debtors.

The requested discovery from Rowe is well within the scope of examination

permitted under Bankruptcy Rule 2004, which includes:

[t]he acts, conduct, or property or... . the liabilities and financial condition
of the debtor, or ... any matter which may affect the administration of the
debtor’s estate, ot to the debtor’s right to a discharge. Jn a...
reorganization case under chapter 11 of the Code, . . . the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money or property acquired o1 to be acquired
by the debtor for purposes of consummating a plan and the consideration

iven or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan.

1 FED.R. BANKR. P. 2004(b).

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 33 of 39

Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion.
Dated: April 26, 2007.

DIAMOND MCCARTHY LLP

By: __/s/ Eric D. Madden

Allan B. Diamond, TX 05801800 (pro hac vice)
William T. Reid, IV, TX 00788817 (pro hac vice)
Eric D. Madden, TX 24013079 (pro hac vice)
909 Fannin, Suite 1500

Houston, Texas 77010

(713) 333-5100 (telephone)

(713) 333-5199 (facsimile)

Special Litigation Counsel for USACM
Liquidating Trust

LEWIS AND ROCA LLP

By: ___/s/ Rob Charles

Susan M. Freeman, AZ 4199 (pro hac vice)
Rob Charles, NV 6593

3993 Howard Hughes Parkway, Suite 600
Las Vegas, Nevada 89169-5996

(702) 949-8320(telephone)

(702) 949-8321 (facsimile)

Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 34 of 39

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion has been
served on April 26, 2007, by electronic transmission and by United States Mail, first class,
postage prepaid and propertly addressed to counsel for Kreg Rowe at the following

address:

Kaaran Thomas

McDonald Carano Wilson, LLP
100 West Libert Street, 10" Floor
Reno, NV 89505
kthomas@mcdonaldcarano.com

/s/ Eric D. Madden
Eric D. Madden

Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 35 of 39

75
B254 (592) Subpoena for Rule 2004 Examination

United States Bankruptcy Court

DISIRICT OF NEVADA

INRE SUBPOENA FOR RULE 2004 EXAMINATION
USA COMMERCIAL MORTGAGE COMPANY, CASENOS. BK-S-06-10725 Lar
USA CAPITAL REALTY ADVISORS, LLC, BK-S-06-10726 LBR
USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK-S-06-10727 LBR
USA CAPITAL FIRST TRUST DEED FUND LLC, BK-S-06-10728 LBR
USA SECURITIES, LLC, BK-S-06-10729 Ler

DEBTORS. JOINILY ADMINISIERED UNDER

CASE NO. BK-8-06-10725-LBR
AFFECTS: ALL DEBTORS

TO: Kreg Rowe
c/o Kaaren Thomas
McDonald Carano Wilson LLP
100 West Liberty Street, 10" Floor
Reno, NV 89505

x YOU ARE COMMANDED to produce a corporate representative for examination under Federal Rule of Banlauptcy Procedure 2004, pursuant
to the attached court order, regarding the following topics at the place, date and time specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY DATE AND TIME

ESQUIRE DEPOSITION SERVICES May 24, 2007 at 10:00 AM

1 EAST LIBERTY STREET, 6™ FLOOR Ay 24, 2007 at 10:00 AM.

RENO, NEVADA 89504 (or such other mumally agreeable
; date and/or time)

x YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time
specified below:

SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED

PLACE DATE
ESQUIRE DEPOSITION SERVICES May 18, 2007 at 10:00 AM.
1 EAST LIBERTY STREET, 6" FLOOR,

(or such other mutually agreeable

ISSUING SIGNATURE AND TITLE DATE
tT
(, | a May 4, 2007

_ Special Litigation Counsel for the USACM Liquidating Trust
ISSUING OFFICER'S NAME, ADDRESS AND PLIONE NUMBER

ERIC D. MADDEN
DIAMOND MCCARIHY LLP
1201 ELM STREET, 34TH FLOOR
DALLAS, TEXAS 75270

(214) 389-5306

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 36 of 39

E-Filed on 04/26/07
DIAMOND MCCARIHY LLP LEWIS AND ROCA LLP
909 Fannin, Suite 1500 3993 Howard Hughes Parkway, Suite 600
Houston, Texas 77010 Las Vegas, NV 89169-5996
Telephone (713) 333-5100 Telephone (702) 949-8320
Faesimile (713) 333-5199 Facsimile (702} 949-8321
Allan B. Diamond, TX State Bar No. 05801800 Susan M, Freeman, AZ State Bar No 904199
Email: adtamond@diamondmecarthy.com Email: sfteeman@lrlaw.com
Eric D Madden, TX State Bar No. 240139079 Rob Charles, NV State Bar No. 006593
Email: emadden@diamondmecarthy com Email: rcharles@lrlaw com
Special Litigation Counsel for USACM Liquidating Trust Counsel for USACM Liquidating Trust

UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re:
USA COMMERCIAL MORTGAGE Case No. BK-S-06-10725-LBR
COMPANY, Case No. BK-S-06-10726-LBR
Case No. BK-S-06-10727-LBR
USA CAPITAL REALTY ADVISORS, Case No. BK-S-06-10728-LBR
LLC, Case No. BK-S-06-10729-LBR
USA CAPITAL DIVERSIFIED TRUST CHAPTER 1i
DEED FUND, LLC,
Jointly Administered Under Case No.
USA CAPITAL FIRST TRUST DEED BK-S-06-10725 LBR
FUND, LLC,
MOTION FOR ORDER REQUIRING
USA SECURITIES, LLC, BRETT SEABERT TO APPEAR FOR
Debtors. EXAMINATION PURSUANT TO
FEDERAL RULE OF
Affects: BANKRUPTCY PROCEDURE 2004
2 All Debtors
USA Commercial Mortgage Company [No hearing required]
1 USA Capital Realty Advisors, LLC
EJ) USA Capital Diversified Trust Deed Fund, LLC
O USA Capital First Trust Deed Fund, LLC
C] USA Securities, LLC

Pursuant to Federal Rule of Bankruptcy Procedure 2004, the USACM Liquidating
Trust (the “Trust” or “Movant”) hereby moves this Court for an order requiring Brett
Seabert (“Seabert”) to appear, as set forth in the subpoena to be issued under Federal Rule

of Bankruptcy Procedure 9016, to appear for examination at the office of Esquire

B- 1 2 114279_1 BOC

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 37 of 39

Deposition Services, | East Liberty Street, 6" Floor, Reno, Nevada 89504, on a business
day no earlier than ten (10) business days after the filing of this Motion and no later than
May 25, 2007 (or at such other mutually agreeable location, date, and time) and continuing
from day to day thereafter until completed.

This Motion is further explained in the following Memorandum.

Memorandum

The Movant seeks information concerning various transactions and other dealings
between (1) Seabert and affiliated entities under his direct or indirect ownership and/or
control; and (2) USACM, the other debtors in the above-captioned cases (together with
USACM, the “Debtors”), and the Debtors’ affiliates, subsidiaries, parents, or otherwise
related entities. The Movant seeks this information to assist in the collection of the assets
and the investigation of the liabilities of the Debtors.

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permitted under Bankruptcy Rule 2004, which includes:

it{he acts, conduct, or property or .. . the liabilities and financial condition
of the debtor, or ... any matter which may affect the administration of the
debtor’s estate, or to the debtor’s right to a discharge. Ina...
reorganization case under chapter 11 of the Code, . .. the examination may
also relate to the operation of any business and the desirability of its
continuance, the source of any money ot property acquired or to be acquired
by the debtor for purposes of consummating a plan and the consideration

iven or offered therefore, and any other matter relevant to the case or to the
ormulation of a plan.

' FED.R. BANKR. P. 2004(b).

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Conclusion

Accordingly, the Movant requests that this Court enter the form of order submitted

with this Motion.

Dated: April 26, 2007.

DIAMOND MCCARTHY LLP

By: ____/s/ Eric D. Madden

‘Allan B. Diamond, TX 05801800 (pro hac vice)

William I. Reid, IV, IX 00788817 (pro hac vice)
Etic D. Madden, TX 24013079 (pro hac vice)
909 Fannin, Suite 1500

Houston, Texas 77010

(713) 333-5100 (telephone)

(713) 333-5199 (facsimile)

Special Litigation Counsel for USACM
Liguidating Trust

LEWIS AND ROCA LLP

By: ___/s/ Rob Charles

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Rob Charles, NV 63593

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Las Vegas, Nevada 89169-5996

(702) 949-8320(telephone)

(702) 949-8321 (facsimile)

Counsel for USACM Liquidating Trust

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Case 06-10725-gwz Doc 3721-2 Entered 05/11/07 17:03:38 Page 39 of 39

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Motion has been
served on April 26, 2007, by electronic transmission and by United States Mail, first class,
postage prepaid and properly addressed to counsel for Brett Seabert at the following

address:

Kaaran Thomas

McDonald Carano Wilson, LLP
100 West Libert Street, 10° Floor
Reno, NV 89505
kthomas@mcdonaidcarano.com

/s/ Evic D. Madden
Eric D. Madden

